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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

In re
                                                Case No. 16-bk-11983-REF
TIMOTHY DOUGLAS HAYES,
                                                Chapter Number: 7
                   Debtor.

315 BOWERY HOLDINGS, LLC and
CBGB FESTIVAL, LLC
                                                Adversary No. 16-186
                   Plaintiffs,
        v.                                      STATUS REPORT
TIMOTHY HAYES,
                   Defendant.


        Pursuant to the Court’s December 23, 2016 Order in this Adversary Proceeding

(Adv. Dkt. No. 33), by which the Court stayed the Nondischargeability Action pending a final

determination and judgment in the New York state court action SW Productions, Inc. v. CBGB

Festival, LLC, No. 652990/2014 (Sup. Ct. N.Y. County 2014) (the “New York Action”), and the

Court’s January 12, 2018 Order directing Plaintiffs to file Status Reports beginning on January

19, 2018 and then every three months thereafter (Adv. Dkt. No. 44), Plaintiffs 315 Bowery

Holdings, LLC and CBGB Festival, LLC (together, “CBGB”), through their undersigned

counsel, hereby submit this Status Report outlining the status of the New York Action since the

last status report (Adv. Dkt. No. 38).

        1.     On March 14, 2018, the parties appeared for a status conference. At this time, the

New York court entered an Order setting an outside deposition date for CBGB’s principal– the

only remaining deposition in the action (other than Debtor-Defendant Timothy Hayes) – of May

4, 2018. (New York Action, Dkt. No. 362). The court also set a deadline for one of the

remaining third-party defendants to file a motion to dismiss. (Id.). That motion was filed on
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April 4, 2018, and will be fully briefed by April 19, 2018. (Id., Dkt. No.367). The court set an

end date for all discovery of July 20, 3018, and the next status conference will be held on June 6,

2018. (Id., Dkt. No. 362).

       2.      The parties also continue to work to resolve a date for Hayes’ deposition pursuant

to this Court’s grant of CBGB’s request to lift the bankruptcy stay for the limited purpose of

conducting his deposition in both the New York and Nondischargeability Actions (Adv. Dkt.

No. 42).


Respectfully Submitted: April 16, 2018

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